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                             UNITED STATES DISTRICT COURT
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                  CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
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 10
       ENRIQUE GUERRERO,                  Case No. SACV 19-1471-JAK (AS)
 11
                          Plaintiff,
                                          ORDER ACCEPTING FINDINGS,
 12
             v.
                                          CONCLUSIONS AND RECOMMENDATIONS
 13
       COUNTY OF ORANGE, et. al.,         OF UNITED STATES MAGISTRATE JUDGE
 14

 15
                          Defendants.
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 17
            Pursuant to 28 U.S.C. section 636, the Court has reviewed the
 18
      Second Amended Complaint, all of the records herein, and the Report
 19
      and Recommendation of a United States Magistrate Judge, to which
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      no   objections    were   filed.   Accordingly,   the   Court   accepts    the
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      findings, conclusions and recommendations of the Magistrate Judge.
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  1         IT IS ORDERED that Judgment shall be entered dismissing this
  2   action with prejudice.
  3

  4         IT IS FURTHER ORDERED that the Clerk serve copies of this

  5   Order on Plaintiff at his current address of record.

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  7   DATED: October 19, 2021

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  9                                             ______________________________
                                                      JOHN A. KRONSTADT
 10                                             UNITED STATES DISTRICT JUDGE
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